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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF IOWA
DAVENPORT DIVISION

JUDGMENT IN A CIVIL CASE
JOHN A. BROWNER
CASE NO.: 3:04-cev-40035
Plaintiff

Vv
CHARLES RUHL, JR.; ET AL

Defendants

___XX___ DECISION BY COURT. This action came to before the Court. The issues

have been considered and a decision has been rendered.

IT IS ORDERED AND ADJUDGED: that the Court dismisses all the claims
against all Defendants and assesses costs to Plaintiff.

Date: November 24, 2004

tA epee

ames Rosenbaum, Clerk
U.S. District Court

